                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

MEMPHIS CENTER FOR REPRODUCTIVE
HEALTH, on behalf of itself, its physicians and staff,
and its patients; PLANNED PARENTHOOD OF
TENNESSEE AND NORTH MISSISSIPPI, on behalf of             CIVIL ACTION
itself, its physicians and staff, and its patients;
KNOXVILLE CENTER FOR REPRODUCTIVE                         CASE NO. 3:20-cv-00501
HEALTH, on behalf of itself, its physicians and staff,
and its patients; FEMHEALTH USA, INC., d/b/a              JUDGE CAMPBELL
CARAFEM, on behalf of itself, its physicians and staff,
and its patients; DR. KIMBERLY LOONEY, on behalf
of herself and her patients; and DR. NIKKI ZITE, on
behalf of herself and her patients,

            Plaintiffs,

            v.

HERBERT H. SLATERY III, Attorney General of
Tennessee, in his official capacity; LISA PIERCEY,
M.D., Commissioner of the Tennessee Department of
Health, in her official capacity; RENE SAUNDERS,
M.D., Chair of the Board for Licensing Health Care
Facilities, in her official capacity; W. REEVES
JOHNSON, JR., M.D., President of the Tennessee Board
of Medical Examiners, in his official capacity;
HONORABLE AMY P. WEIRICH, District Attorney
General of Shelby County, Tennessee, in her official
capacity; GLENN FUNK, District Attorney General of
Davidson County, Tennessee, in his official capacity;
CHARME P. ALLEN, District Attorney General of
Knox County, Tennessee, in her official capacity; and
TOM P. THOMPSON, JR., District Attorney General for
Wilson County, Tennessee, in his official capacity,

            Defendants.

       MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR A TEMPORARY
         RESTRAINING ORDER AND/OR PRELIMINARY INJUNCTION




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                                 PRELIMINARY STATEMENT

       In the early morning hours of June 19, 2020, the Tennessee legislature passed House Bill

2263 / Senate Bill 2196 (the “Act”). The Act is the culmination of the state’s relentless efforts to

eliminate abortion within its borders through a multitude of pre-viability bans. 1 The Bans will go

into effect as soon as the Act is signed by Governor Bill Lee. Absent intervention by this Court,

the bans will immediately inflict irreparable harm on Plaintiffs’ patients each and every day they

remain in effect by depriving Plaintiffs’ patients of their constitutional right to abortion.

       First, the Act criminalizes the provision of abortion care as soon as fetal cardiac activity

develops—typically around 6 weeks from the pregnant person’s last menstrual period

(“LMP”) 2—and then, upon the invalidation of that ban, at a series of specified points in the first

and second trimesters, irrespective of fetal viability (the “Cascading Bans”). Act §§ 39-15-

216(c)(1)-(12), (h). Second, the Act also criminalizes the provision of abortion care where the

provider “knows” that an abortion is being sought “because of” the race or sex of the fetus, or “a

prenatal diagnosis, test, or screening indicating Down syndrome or the potential for Down

syndrome” (the “Reason Bans”) (together with the Cascading Bans, the “Bans”). Id. §§ 39-15-

217(b)-(d). Physicians who violate the Bans are subject to severe criminal penalties that include

lengthy prison sentences and hefty monetary penalties, and place their medical licenses at risk.

       The Bans unquestionably proscribe abortion prior to viability, in violation of decades of

clear and unwavering Supreme Court precedent. In fact, this is the Bans’ only application.

Tennessee already prohibits abortion to the fullest extent permitted under the Constitution



1
  The Act also institutes other requirements that are not being challenged in this lawsuit. See Act
§§ 39-15-215, 218.
2
  In the medical context, pregnancy is measured from the first day of a patient’s LMP. A full-
term pregnancy is approximately forty weeks LMP. Looney Decl. ¶ 2 n.1; Norton Decl. ¶ 10.
                                                      1

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through a preexisting ban on post-viability abortion (which Plaintiffs do not challenge), and the

Act explicitly does nothing to disturb that ban. Tenn. Code Ann. § 39-15-211(b)(1); Act §§ 39-

15-216(i)(2), 217(j)(2). While this alone necessitates injunctive relief, the Bans also suffer from

other fatal constitutional infirmities, including vagueness and lack of adequate medical

emergency exceptions.

           Governor Lee introduced the Act to the Tennessee legislature, lauding it as a

“monumental step” in making Tennessee “one of the most pro-life states in the country.”3 As

soon as the Governor signs the bill—which is a certainty—the Bans will force Plaintiffs to turn

away nearly all their patients seeking abortion. Enforcement of the Bans will violate Plaintiffs’

patients’ constitutional right to abortion and Plaintiffs’ constitutional right to not be governed by

vague laws, causing both Plaintiffs and their patients immediate and irreparable harm. As such,

Plaintiffs respectfully request that the Court act expeditiously and grant Plaintiffs’ request for

immediate injunctive relief.

                                      STATEMENT OF FACTS

    I.     THE ACT’S PRE-VIABILITY ABORTION BANS

           The Act brazenly defies clear Supreme Court precedent by instituting numerous pre-

viability abortion bans.4 First, the Cascading Bans prohibit abortion as soon as a “fetal




3
  Tenn. Office of the Governor, Gov. Bill Lee Introduces Comprehensive Pro-Life Legislation
(Jan. 23, 2020), https://www.tn.gov/governor/news/2020/1/23/gov--bill-lee-introduces-
comprehensive-pro-life-legislation.html.
4
  In a misguided effort to overcome this binding precedent, the Act includes numerous legislative
findings—ostensibly to support Tennessee’s interest in banning pre-viability abortions. See, e.g.,
Act § 39-15-214(a)(1)-(77). While these findings contain a multitude of errors, Plaintiffs address
only those findings relevant to the issue before this Court—viability (since no state interest is
“strong enough to support a prohibition of abortion” before viability). Planned Parenthood of Se.
Pa. v. Casey, 505 U.S. 833, 846 (1992).
                                                      2

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heartbeat” 5 is detected, and then—upon the invalidation of that ban—at or after 6, 8, 10, 12, 15,

18, 20, 21, 22, 23, and 24 weeks LMP. 6 See Act §§ 39-15-216(c)(1)-(12). Second, the Reason

Bans prohibit abortion when the provider “knows” the abortion is being sought “because of” the

race or sex of the fetus, or “a prenatal diagnosis, test, or screening indicating Down syndrome or

the potential for Down syndrome.” Id. §§ 39-15-217(b)-(d).

        Underscoring the complete unconstitutionality of the Bans is the fact that their only

application is to pre-viability abortion. Tennessee law already prohibits abortion after viability,

and the Bans explicitly do not repeal this existing post-viability ban. See Tenn. Code Ann. § 39-

15-211(b)(1); Act §§ 39-15-216(i)(2), 217(j)(2) (“This section shall not be construed as a repeal,

either express or implied, of any provision of this part as it existed prior to the effective date of

this act.”).

        The Bans criminalize the provision of abortion in all cases, including rape, incest, and

lethal fetal conditions—irrespective of whether the embryo or fetus is viable. The Bans only

create affirmative defenses to criminal prosecution if “in the physician’s reasonable medical

judgment, a medical emergency prevented compliance with the provision.” Act §§ 39-15-

216(e)(1), 217(e)(1).

        These affirmative defenses do not cover many serious medical conditions that would

place the pregnant person’s health at serious risk, simply because the condition is not acute



5
  “Fetal heartbeat” is defined as “cardiac activity or the steady and repetitive rhythmic
contraction of the heart of a[ fetus].” Act § 39-15-216(a)(2). Referring to embryonic cardiac
activity as a “fetal heartbeat” is misleading both because it is simply a group of cells with
electrical activity (not any kind of cardiovascular system) and an embryo does not develop into a
fetus until approximately 9 weeks LMP. Looney Decl. ¶ 9.
6
  Under the Cascading Bans, abortion is still permitted at 6 weeks LMP if “the physician
affirmatively determines and records in the pregnant [person’s] medical record that, in the
physician’s good faith medical judgment, the [embryo or fetus] does not have a fetal heartbeat at
the time of the abortion.” Act § 39-15-216(c)(2).
                                                      3

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enough to “necessitate” an “immediate” abortion. Zite Decl. ¶ 18. By definition, “medical

emergency” includes only those conditions that, “in the physician’s good faith medical judgment,

based upon the facts known to the physician at the time, so complicate[] the [person]’s

pregnancy as to necessitate the immediate performance or inducement of an abortion in order to

prevent the death of the pregnant [person] or to avoid a serious risk of the substantial and

irreversible impairment of a major bodily function of the pregnant [person] that delay in the

performance or inducement of the abortion would create.” Act §§ 39-15-216(a)(4), 217(a)(3)

(incorporating Tenn. Code Ann. § 39-15-211(a)(3) by reference). Further, the Bans specify that

“a medical emergency does not include a claim or diagnosis related to the [pregnant person’s]

mental health or a claim or diagnosis that the [pregnant person] will engage in conduct which

would result in her death or substantial and irreversible impairment of a major bodily function.”

Id. §§ 39-15-216(a)(4), 217(a)(3).

       A physician’s violation of any of the Bans is a Class C felony, id. §§ 39-15-216(b)(2),

(c)(1)-(12), 217(f), imposing severe criminal penalties, including imprisonment of 3 to 15 years

and/or a fine not to exceed $10,000. See Tenn. Code Ann. § 40-35-111(b)(3). Violation of the

Bans likewise subjects physicians to licensure penalties, including revocation, see Tenn. Code

Ann. §§ 63-6-101(a)(3), 63-6-214(b); Tenn. Comp. R. & Regs. 0880-02-.12(1), and subjects

health centers licensed as ambulatory surgical treatment centers (“ASTCs”) to licensure

penalties, Tenn. Code Ann. § 68-11-207(a)(3); Tenn. Comp. R. & Regs. 1200-08-10-.03(1)(d);

see also Looney Decl. ¶ 12; Rovetti Decl. ¶ 8.

 II.   ABORTION CARE IN TENNESSEE

       There are generally two methods of providing abortion care: medication abortion and

procedural abortion. Looney Decl. ¶ 14. Medication abortion typically involves the ingestion of



                                                    4

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two medications—mifepristone and misoprostol—which cause the patient to pass the pregnancy

at a place of her choosing, in a process similar to miscarriage. Id. Procedural abortion involves

the use of instruments to gently dilate the cervix and evacuate the contents of the uterus. Id. ¶ 16.

Procedural abortion is a brief and straightforward procedure; it involves no incision, no need for

general anesthesia, and is almost always performed in an outpatient setting. Id.

       In Tennessee, an abortion may be obtained at one of eight outpatient health centers7 or,

under limited circumstances, in a hospital. Terrell Decl. ¶ 10; Zite Decl. ¶¶ 8-10. At any of these

providers, consistent with Tennessee law, abortion is not provided once a fetus has attained

viability. Tenn. Code Ann. § 39-15-211(b)(1). None of the eight outpatient health centers in

Tennessee provides abortion care beyond 19 weeks, 6 days LMP—a point in pregnancy at which

no fetus is viable. Grant Decl. ¶ 2; Looney Decl. ¶ 18; Rovetti Decl. ¶ 2; Terrell Decl. ¶ 8; see

Norton Decl. ¶¶ 9, 20.

       After 19 weeks, 6 days LMP, pre-viability abortion may be accessed in a hospital in

Tennessee. Plaintiff Dr. Nikki Zite provides pre-viability abortion care at a hospital in Knoxville

in two limited circumstances, pursuant to hospital policy. Zite Decl. ¶¶ 8-10. First, Dr. Zite can

offer abortion care for significant fetal indications. These fetal conditions include cases in which

the fetus lacks organs or organs that will sufficiently develop for survival, such as when a fetus

would be born without kidneys or with lungs that never develop; or if the fetus has anencephaly,




7
  Plaintiffs Choices, PPTNM, KCRH, and carafem represent seven of the eight outpatient health
centers, and they provide the vast majority of the more than 10,000 abortions performed in
Tennessee each year. See Grant Decl. ¶ 15; Looney Decl. ¶ 21; Rovetti Decl. ¶ 2; Terrell Decl. ¶
9; Tenn. Dep’t of Health, Div. of Vital Records & Statistics, Selected Induced Termination of
Pregnancy (ITOP) Data, According to Age and Race of Woman, Tennessee and Department of
Health Regions, Resident Data, 2018, at 1 (2018),
https://www.tn.gov/content/dam/tn/health/documents/vital-statistics/itop/ITOP2018.pdf
(indicating that 10,880 abortions were performed in Tennessee in 2018).
                                                     5

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a lack of brain development, hypoplastic left heart syndrome, catastrophic amniotic band

syndrome, and severe skeletal dysplasia. Id. ¶ 11. Often such conditions cannot be diagnosed

prior to approximately 15 to 20 weeks LMP, and even after a diagnosis, many patients choose to

pursue follow-up tests and to consult with multiple professionals to ensure they make the right

decision for them. Looney Decl. ¶ 35.

       Second, Dr. Zite may offer pre-viability abortion care for maternal health indications.

Zite Decl. ¶ 15. These patients are experiencing serious health conditions such as severe

preeclampsia (very high blood pressure), heart failure, inevitable abortion, or premature rupture

of the membranes. Id. ¶ 15. Others may have pre-existing health conditions whose risks are

heightened by the ongoing pregnancy or may have serious conditions brought on by the

pregnancy itself. Id. ¶¶ 14-15.

       In either of these two circumstances, patients are offered termination after a

neonatologist, perinatologist, or maternal fetal medicine specialist determines that the fetus is not

viable. 8 Zite Decl. ¶ 16. Ultimately, whether any particular fetus is or ever will be viable depends

on a physician’s assessment of multiple factors, including the gestational age of the fetus; the

size and sex of the fetus; diagnosed fetal health conditions; plurality of birth (singleton v.

multiple); maternal comorbidities; whether antenatal corticosteroids are administered; and

whether the delivery occurs at a Level III or IV neonatal intensive care unit (“NICU”), among

others. Norton Decl. ¶ 11.9 The point at which viability occurs differs from pregnancy to

pregnancy, and some fetuses are never viable. Looney Decl. ¶ 20; Norton Decl. ¶¶ 9, 16, 19.



8
  Case-by-case assessments of viability are mandated under Tennessee law for all abortions
performed after 20 weeks LMP. Tenn. Code Ann. § 39-15-212.
9
  The Act’s legislative findings suggest that viability occurs at 22 to 23 weeks LMP. See Act §§
39-15-214(a)(37), (41). These findings are medically incorrect. Norton Decl. ¶¶ 21-22. The


                                                     6

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III.      IMPACT OF THE BANS ON ABORTION CARE IN TENNESSEE

       A. The Bans Will Prohibit the Vast Majority of Pre-Viability Abortion Care.

          Without an injunction, the Bans will prohibit Plaintiffs from providing pre-viability

abortion care to nearly all of their patients. Grant Decl. ¶¶ 8-9; Looney Decl. ¶¶ 23-24, 38;

Rovetti Decl. ¶¶ 9-10; Terrell Decl. ¶¶ 7, 14; Zite Decl. ¶¶ 17, 21-22. In a typically developing

embryo, cells that eventually form the basis for development of the heart later in pregnancy

produce cardiac activity that is generally detectible via ultrasound beginning at approximately 6

weeks LMP. 10 Looney Decl. ¶ 9. Patients generally seek abortion care as soon as they are able,

but the great majority of abortion patients are simply not able to confirm a pregnancy and

schedule and obtain an abortion before 6 weeks LMP. Looney Decl. ¶¶ 26-31 & n.11.

          Prior to and even after 6 weeks LMP, many individuals do not know they are pregnant—

particularly those with irregular cycles, who have certain medical conditions, who have been

using contraception, or who are breastfeeding. Looney Decl. ¶ 26; Rovetti Decl. ¶ 14. In a person

with regular monthly periods, fertilization typically occurs 2 weeks post-LMP—that is, 2 weeks




extraordinarily rare survival of infants at these ages does not reflect a “reasonable likelihood of
the fetus’ sustained survival outside the womb.” Colautti v. Franklin, 439 U.S. 379, 388 (1979);
Norton Decl. ¶ 22. In all events, as the Supreme Court has made clear, viability is not the same
for every pregnancy, but is a determination that must be made by “the attending physician on the
particular facts of the case before him [or her],” and a State may not adopt “weeks of gestation”
or any other factor as the determinant of viability. Colautti, 439 U.S. at 388-89.
10
   The Act’s legislative findings concerning the relevance of fetal cardiac activity conflate the
concepts of a viable pregnancy and fetal viability. Norton Decl. ¶ 23. The findings state that
“[t]he presence of a fetal heartbeat is the best indicator of a viable pregnancy,” and that the
“detectability of a fetal heartbeat is a strong predictor of survivability to term, especially if the
heartbeat is present at eight (8) weeks gestational age or later.” Act § 39-15-214(a)(15)
(emphasis added). But the viability of a pregnancy is distinct from the viability of the fetus.
Norton Decl. ¶ 23. In common medical parlance, a “viable pregnancy” means only that the fetus
is currently alive—i.e., has not miscarried or died—and this has no bearing on whether there is a
reasonable likelihood of the fetus’ sustained survival outside the womb at that stage of
pregnancy, id., which is the legal definition of viability.
                                                      7

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after the first day of the last menstrual period. Looney Decl. ¶ 27; Rovetti Decl. ¶ 14. Thus, even

for those with highly regular, 4-week cycles, 6 weeks LMP is a mere 2 weeks after they will

have missed their period. Looney Decl. ¶ 27; Rovetti Decl. ¶ 14.

       Moreover, Tennessee’s existing array of regulations and restrictions further delay

pregnant people’s ability to access abortion care. Grant Decl. ¶ 18; Looney Decl. ¶ 33; Rovetti

Decl. ¶ 14; Terrell Decl. ¶ 11. To begin, Tennessee prohibits coverage for abortion, except in

cases of rape, incest or to save the patient’s life by both state Medicaid and private insurance in

state exchanges established by the Affordable Care Act. Tenn. Code Ann. §§ 9-4-5116, 56-26-

134. Given that the vast majority of Plaintiffs’ patients are low-income, it is difficult for them to

raise the money to pay for the procedure and related expenses out of pocket. Grant Decl. ¶ 18;

Looney Decl. ¶ 30; Rovetti Decl. ¶ 17; Terrell Decl. ¶¶ 9, 25.

       Tennessee also prohibits the use of telemedicine for abortion even though 96 percent of

Tennessee’s counties lack an abortion clinic and 63 percent of Tennessee women live in those

counties. Tenn. Code Ann. § 63-6-241. And, Tennessee has a mandatory delay law, which

requires patients seeking an abortion to meet with a physician in person at least 48 hours before

the abortion in order to receive certain state-mandated information. Id. § 39-15-202(a)-(h). As a

result, patients must make a second, medically unnecessary trip to the clinic. Grant Decl. ¶ 18;

Looney Decl. ¶ 33; Rovetti Decl. ¶¶ 14; Terrell Decl. ¶ 10. Further, for patients who are minors,

they must obtain parental consent before they can have an abortion, unless they first go to court

and persuade a judge to grant them a judicial bypass. Tenn. Code Ann. § 37-10-303.

       Given the challenges of identifying pregnancy at such early gestations and the existing

landscape of abortion access in Tennessee, the vast majority of abortions in Tennessee take place

after 6 weeks LMP. Grant Decl. ¶ 16 (the majority of carafem’s patients); Looney Decl. ¶¶ 21-22



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(more than 98% of PPTNM’s patients); Rovetti Decl. ¶ 13 (more than 80% of KCRH’s patients

receive an abortion after 6 weeks, 6 days weeks LMP); Terrell Decl. ¶ 14 (approximately 95% of

Choices’ patients). The Cascading Bans therefore will prohibit the overwhelming majority of

abortions in Tennessee.

       Moreover, they will also prohibit Dr. Zite from providing pre-viability abortion care to

her patients. Zite Decl. ¶¶ 17, 21-22. This is true even for maternal health indications where the

threat to her patient’s health is serious, and may worsen over time, if the condition has yet to

become acute enough to fit within the narrow medical emergency affirmative defense. Id. ¶¶ 18-

22. For these patients, Dr. Zite will be forced to wait until the patient’s health deteriorates to the

point that the patient experiences a health crisis—contrary to the standard of care and placing the

patient’s health at serious and unnecessary risk. Id. ¶¶ 21-22.

       And, to the extent the Cascading Bans do not prohibit all pre-viability care, the Reason

Bans will also independently prohibit some pre-viability care. As discussed infra, Plaintiffs will

be unable to provide pre-viability abortion care to their patients whenever any of the prohibited

reasons is implicated. Thus, the Reason Bans will also deprive some of their patients of the

ability to choose abortion prior to viability. Grant Decl. ¶ 19; Looney Decl. ¶ 49; Rovetti Decl. ¶

24; Terrell Decl. ¶ 26.

   B. The Reason Bans Do Not Make Clear What Pre-Viability Abortion Care They
      Prohibit.

       Individuals seek abortion for a multitude of deeply personal reasons. Looney Decl. ¶ 39;

Rovetti Decl. ¶ 12; Terrell Decl. ¶¶ 16-17. The decision to terminate a pregnancy is motivated by

a combination of diverse, complex, and interrelated factors. These factors are related to the

individual’s values, beliefs, culture and religion, health status and reproductive history, familial

situation, and resources and economic stability. See Looney Decl. ¶¶ 39, 42-43; Rovetti Decl. ¶

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12; Terrell Decl. ¶¶ 16-18; Zite Decl. ¶¶ 13, 23. Whatever the reasons, each person’s decision to

have an abortion is unique to that person and based on her own complex personal circumstances

and values.

       Given the deeply personal nature of the decision, it is often difficult, if not impossible, for

another person to truly know why an individual seeks an abortion. Looney Decl. ¶ 44; Terrell

Decl. ¶ 16. In this context, Plaintiffs do not understand what it means for an abortion to be

sought “because of” the race or sex of the fetus, or “a prenatal diagnosis, test, or screening

indicating Down syndrome or the potential for Down syndrome.” Grant Decl. ¶ 21; Looney

Decl. ¶ 44; Rovetti Decl. ¶ 23; Terrell Decl. ¶¶ 20-23. Plaintiffs do not understand whether

abortion is prohibited when a prohibited reason is the only reason, the main reason, a significant

reason, one among many potential reasons, or even just a factor that an individual considered.

Grant Decl. ¶ 21; Looney Decl. ¶ 45; Rovetti Decl. ¶ 23; Terrell Decl. ¶ 19.

       Prior to performing an abortion, Plaintiffs provide counseling designed not to favor any

option over another, which means they listen to, support, and provide information to the patient,

without directing the course of action. Looney Decl. ¶ 40; Rovetti Decl. ¶¶ 25-28; Terrell Decl. ¶

17. Consistent with Plaintiffs’ missions and best medical practices, Plaintiffs do not require that

patients disclose their reasons for seeking an abortion. Grant Decl. ¶ 22; Looney Decl. ¶ 41;

Rovetti Decl. ¶ 25; Terrell Decl. ¶ 17. During this counseling, some of Plaintiffs’ patients

disclose at least some information about the considerations that have informed their decision-

making, and many patients do not do so. Looney Decl. ¶ 41; Rovetti Decl. ¶¶ 23, 27; Terrell

Decl. ¶ 17.

       At times, Plaintiffs’ patients have raised issues relating to the race or sex of the fetus,

without presenting them as “reasons” for the abortion. Grant Decl. ¶ 22; Looney Decl. ¶ 46;



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Rovetti Decl. ¶ 23; Terrell Decl. ¶ 20. For example, Plaintiffs have treated patients experiencing

racism from their families around a biracial relationship or who inquire about the sex of the fetus

during an ultrasound. Grant Decl. ¶ 22; Looney Decl. ¶ 46; Rovetti Decl. ¶ 23; Terrell Decl. ¶ 20.

Plaintiffs have also treated patients who have expressed concern about their own advanced age or

any possible fetal condition as a result of that age, or who have raised concerns over the

possibility of Down syndrome—among many other feelings these patients may express,

including how the pregnancy may affect their existing children or their current life

circumstances. Grant Decl. ¶ 22; Looney Decl. ¶¶ 47-48; Rovetti Decl. ¶ 23; Terrell Decl. ¶ 21.

Likewise, Dr. Zite may also perform an abortion where a diagnosis of Down syndrome is

accompanied by other diagnoses (such as cardiac conditions), which may collectively inform the

patient’s decision to have an abortion. Zite Decl. ¶ 12.

       By the terms of the statute, it is unclear whether the Reason Bans prohibit abortions in

any of these situations. Because of the uncertainty surrounding what the Reason Bans prohibit

and how they will be enforced, combined with the extreme criminal penalties (up to 15 years in

prison along with a $10,000 fine), Plaintiffs will be unable to provide pre-viability abortions to

any patient where a prohibited reason is ever referenced or implicated. Grant Decl. ¶¶ 20, 23;

Looney Decl. ¶ 49; Rovetti Decl. ¶ 24; Terrell Decl. ¶ 23.

   C. The Bans Will Chill the Provision of Abortion Care in Medical Emergencies.

       To the extent care may be provided in “medical emergencies,” in many circumstances,

the Bans will prevent physicians from providing care even when required by their best medical

judgment. Zite Decl. ¶¶ 18-22. The medical emergency affirmative defenses are available only if,

“in the physician’s reasonable medical judgment, a medical emergency prevented compliance.”

Act §§ 216(e)(1), 217(e)(1). This means that whether any physician will be protected by one of



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the affirmative defenses may ultimately depend on another’s interpretation of whether the

medical emergency determination was reasonable—rather than the physician’s own best medical

judgment.11 And, because it is an affirmative defense, the burden will on the physician to prove,

by the preponderance of the evidence, that the defense applies. See Tenn. Code Ann. § 39-11-

204(b), (e).

        Because medical emergencies are complex and susceptible to dispute, a physician’s good

faith medical emergency determination could easily be challenged by another physician after the

fact. Zite Decl. ¶¶ 21-22. This risk is heightened in a state like Tennessee where so many

physicians are openly opposed to abortion. Looney Decl. ¶ 37; Zite Decl. ¶ 21

        Further, the medical emergency affirmative defenses do not provide a scienter

requirement to alleviate this risk. For example, they do not indicate that the defenses will be

available so long as medical emergency determinations are not made recklessly or knowingly.

Instead, physicians will be strictly liable for determinations made in good faith, based on their

medical judgment, whenever a factfinder determines after-the-fact that the determination was

“unreasonable,” exposing physicians to risk of severe criminal penalties. Fearing these severe

penalties, physicians will be unable to provide care in some cases, despite their good faith belief

that a “medical emergency” warrants it, subjecting their patients to extreme health risks with

potentially dire consequences. Zite Decl. ¶¶ 19-22.




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  Notably, this is the only provision in the entire Tennessee abortion code for which a
physician’s ability to seek the protection of a medical emergency exception or affirmative
defense depends on an objective evaluation of that assessment. In every other case, a physician
may invoke the exception or defense so long as the determination was made in the “physician’s
good faith medical judgment,” based on the facts known to the physician at the time. See, e.g.,
Tenn. Code Ann. §§ 39-15-202, 211, 212 (emphasis added).

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IV.     THE BANS WILL IMMEDIATELY AND IRREPARABALY HARM
        PLAINTIFFS’ PATIENTS.

        As soon as Governor Bill Lee signs the Bans into law, the Bans will immediately impose

severe harms on Plaintiffs’ patients. Those who are denied abortion care will either be forced to

travel out of state for care; to continue their pregnancies against their will; or, to resort to unsafe

means to terminate their pregnancies. Grant Decl. ¶¶ 8-9, 16, 19; Looney Decl. ¶ 38; Rovetti

Decl. ¶¶ 15, 22; Terrell Decl. ¶ 26; Zite Decl. ¶ 24.

        Most of Plaintiffs’ patients are poor or low-income, already parents, and struggle to

access transportation, childcare, and time off work, in addition to other challenges they face

accessing healthcare generally, so many will be forced to carry to term against their will or to

resort to unsafe means to terminate their pregnancies. Grant Decl. ¶ 18; Looney Decl. ¶¶ 30-31,

38; Rovetti Decl.¶ 17; Terrell Decl. ¶ 26. These outcomes are each incredibly harmful. Grant

Decl. ¶ 19; Looney Decl. ¶ 37; Rovetti Decl.¶ 15, 21-22; Terrell Decl. ¶ 26. Being denied an

abortion will harm patients’ health, their existing families, their financial and educational goals,

and their ability to gain independence from abusive and unsafe circumstances. Looney Decl. ¶

38; Rovetti Decl. ¶¶ 15, 21-22, 29; Terrell Decl. ¶ 26; Zite Decl. ¶¶ 23-24.

                                            ARGUMENT

  I.    APPLICABLE LEGAL STANDARDS

        Plaintiffs seek a temporary restraining order and/or preliminary injunction to prevent the

Bans from inflicting constitutional, medical, emotional, and other harm on Plaintiffs and their

patients. In ruling on such a motion, the Court considers four factors, all of which weigh heavily

in Plaintiffs’ favor: “(1) whether the movant has a strong likelihood of success on the merits; (2)

whether the movant would suffer irreparable injury absent the injunction; (3) whether the

injunction would cause substantial harm to others; and (4) whether the public interest would be


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served by the issuance of an injunction.” Am. Civil Liberties Union Fund of Mich. v. Livingston

Cty., 796 F.3d 636, 642 (6th Cir. 2015) (internal quotation marks omitted).

 II.      PLAINTIFFS WILL SUCCEED ON THE MERITS.

          The Bans violate the Constitution in several ways, and Plaintiffs have a strong likelihood

of success on each of their claims.

       A. The Bans Unconstitutionally Proscribe Pre-Viability Abortion Care.

          For nearly fifty years, the Supreme Court has repeatedly and unequivocally held that,

under the Due Process Clause of the Fourteenth Amendment, a state may not ban abortion prior

to viability. Casey, 505 U.S. at 846, 871; Roe v. Wade, 410 U.S. 113, 163-64 (1973);12 accord

Isaacson v. Horne, 716 F.3d 1213, 1217, 1221 (9th Cir. 2013), cert. denied, 571 U.S. 1127

(2014) (stating the Supreme Court has been “unalterably clear regarding one basic point”: “a

woman has a constitutional right to choose to terminate her pregnancy before the fetus is

viable”). In setting this rule, the Supreme Court recognized “the urgent claims of the woman to

retain the ultimate control over her destiny and her body, claims implicit in the meaning of

liberty,” Casey, 505 U.S. at 869, and the fundamental right of a woman to the decisional

autonomy to shape her own place in society, regardless of the State’s vision of a woman’s role.

Id. at 852.

          Binding Supreme Court precedent also establishes that a state may not dictate when

viability occurs based on a single factor such as gestational age. “[I]t is not the proper function of


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   See also Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292, 2299 (2016) (reaffirming that
a provision of law is constitutionally invalid if it bans abortion “before the fetus attains viability”
(quoting Casey, 505 U.S. at 878)); Gonzales v. Carhart, 550 U.S. 124, 146 (2007) (“assum[ing]”
the principle that, “[b]efore viability, a State ‘may not prohibit any woman from making the
ultimate decision to terminate her pregnancy’” (quoting Casey, 505 U.S. at 879)); Stenberg v.
Carhart, 530 U.S. 914, 921 (2000) (declining to “revisit” the legal principles reaffirmed in Casey
that “before ‘viability . . . the woman has a right to choose to terminate her pregnancy’” (quoting
Casey, 505 U.S. at 870)).
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the legislature or the courts to place viability, which essentially is a medical concept, at a specific

point in the gestation period. The time when viability is achieved may vary with each pregnancy

. . . .” Colautti, 439 U.S. at 388 (quoting Planned Parenthood of Cent. Mo. v. Danforth, 428 U.S.

52, 64 (1976)). As the Supreme Court explicitly stated:

        Because [viability] may differ with each pregnancy, neither the legislature nor the
        courts may proclaim one of the elements entering into the ascertainment of
        viability—be it weeks of gestation or fetal weight or any other single factor—as
        the determinant of when the State has a compelling interest in the life or health of
        the fetus.

Id. at 388-89. Rather, “the determination of whether a particular fetus is viable is, and must be, a

matter for the judgment of the responsible attending physician.” Id. at 388 (quoting Danforth,

428 U.S. at 64). “State regulation . . . must allow the attending physician ‘the room he needs to

make his best medical judgment.’” Id. at 397 (quoting Doe v. Bolton, 410 U.S. 179, 192 (1973)).

        Given this unwavering line of Supreme Court precedent, every federal appellate court or

state high court faced with a law prohibiting abortions before viability, with or without

exceptions, has ruled that it violates the Fourteenth Amendment. Further, the Supreme Court has

affirmed or denied certiorari in each one of those cases it has been asked to review. 13 In



13
   See MKB Mgmt. Corp. v. Stenehjem, 795 F.3d 768, 773 (8th Cir. 2015) (striking down ban on
pre-viability abortions at 6 weeks with exceptions), cert. denied, 136 S. Ct. 981 (2016); Edwards
v. Beck, 786 F.3d 1113, 1117 (8th Cir. 2015) (striking down ban on pre-viability abortions at 12
weeks with exceptions), cert. denied, 136 S. Ct. 895 (2016); Isaacson, 716 F.3d at 1217, 1231
(striking down ban on pre-viability abortions at 20 weeks with exceptions), cert. denied, 571
U.S. 1127 (2014); Carhart v. Stenberg, 192 F.3d 1142, 1151 (8th Cir. 1999) (striking down ban
on “the most common procedure” used to perform abortions after 13 weeks), aff’d, 530 U.S. 914,
922 (2000); Women’s Med. Prof’l Corp. v. Voinovich, 130 F.3d 187, 201 (6th Cir. 1997) (same),
cert. denied, 523 U.S. 1036 (1998); Jane L. v. Bangerter, 102 F.3d 1112, 1114, 1117-18 (10th
Cir. 1996) (striking down ban on pre-viability abortions at 22 weeks with exceptions), cert.
denied, 520 U.S. 1274 (1997); Sojourner T. v. Edwards, 974 F.2d 27, 29, 31 (5th Cir. 1992)
(striking down ban on all abortions with exceptions), cert. denied, 507 U.S. 972 (1993); Guam
Soc’y of Obstetricians & Gynecologists v. Ada, 962 F.2d 1366, 1368-69 (9th Cir. 1992) (same),
cert. denied, 506 U.S. 1011 (1992); cf. DesJarlais v. State, Office of Lieutenant Governor, 300


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particular, federal appellate courts have unanimously struck state laws that seek to fix viability,

or otherwise limit access to abortion, based on a specific gestational age. 14

       Similarly, attempts to ban pre-viability abortion based on the patient’s reasons for

seeking an abortion have been uniformly rejected.15 The central principle underlying the privacy

right and liberty interests recognized in Roe, Casey, and Whole Woman’s Health is that it is for

the individual, not the State, to decide whether to terminate a pre-viability pregnancy. As the

Court made abundantly clear in Casey:

       These matters, involving the most intimate and personal choices a person may
       make in a lifetime, choices central to personal dignity and autonomy, are central
       to the liberty protected by the Fourteenth Amendment. At the heart of liberty is


P.3d 900, 904-05 (Alaska 2013) (invalidating proposed pre-viability ban on all abortions with
exception for “necessity”), reh’g denied; In re Initiative Petition No. 395, State Question No.
761, 286 P.3d 637, 637-38 (Okla. 2012) (invalidating proposed definition of a fertilized egg as a
“person” under due process clause), cert. denied, 568 U.S. 978 (2012); Wyo. Nat’l Abortion
Rights Action League v. Karpan, 881 P.2d 281, 287 (Wyo. 1994) (ruling proposed ban on
abortions would be unconstitutional); In re Initiative Petition No. 349, State Question No. 642,
838 P.2d 1, 7 (Okla. 1992) (striking down proposed abortion ban with exceptions), cert. denied,
506 U.S. 1071 (1993).
14
   See, e.g., Jackson Women’s Health Org. v. Dobbs, 951 F.3d 246, 248 (5th Cir. 2020) (per
curiam) (ban after detection of fetal cardiac activity which typically occurs at 6 weeks LMP);
Jackson Women’s Health Org. v. Dobbs, 945 F.3d 265, 274 (5th Cir. 2019) (15-week ban); MKB
Mgmt. Corp., 795 F.3d at 773 (ban after detection of fetal cardiac activity which typically occurs
at 6 weeks LMP); Edwards, 786 F.3d at 1117 (12-week ban); Isaacson, 716 F.3d at 1217, 1231
(20-week ban); Jane L., 102 F.3d at 1114, 1117-18 (22-week ban).
15
   See also Preterm-Cleveland v. Himes, 940 F.3d 318, 323 (6th Cir. 2019) (invalidating Ohio
reason ban because a state may not prohibit abortion prior to viability regardless of the “the
state’s purported reason for prohibiting a woman from obtaining an abortion”), reh’g en banc
granted, opinion vacated, 944 F.3d 630 (6th Cir. 2019); Little Rock Family Planning Servs. v.
Rutledge, 397 F. Supp. 3d 1213, 1275 (E.D. Ark. 2019) (granting preliminary injunction against
Arkansas reason ban because the ban “clearly violates well-established Eighth Circuit and
Supreme Court precedent holding that a woman may terminate her pregnancy prior to viability,
and that the State may not prohibit a woman from exercising that right solely upon the basis on
which a woman makes her decision”); Planned Parenthood of Ind. & Ky., Inc. v. Comm’r of Ind.
State Dep’t of Health, 265 F. Supp. 3d 859, 867 (S.D. Ind. 2017) (“[I]t is a woman’s right to
choose an abortion that is protected, which, of course, leaves no room for the State to examine,
let alone prohibit, the basis or bases upon which a woman makes her choice.”), aff’d, 888 F.3d
300 (7th Cir. 2018), and cert. denied in part and granted in part, judgment rev’d in part on other
grounds sub nom. Box v. Planned Parenthood of Ind. & Ky., Inc., 139 S. Ct. 1780 (2019).
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       the right to define one’s own concept of existence, of meaning, of the universe,
       and of the mystery of human life. Beliefs about these matters could not define the
       attributes of personhood were they formed under compulsion of the State.

505 U.S. at 851. “Nothing in the Fourteenth Amendment or Supreme Court precedent allows the

State to invade this privacy realm to examine the underlying basis for a woman’s decision to

terminate her pregnancy prior to viability.” Planned Parenthood of Ind. & Ky., Inc. v. Comm’r of

Ind. State Dep’t of Health, 888 F.3d 300, 307 (7th Cir. 2018) (permanently enjoining Indiana law

prohibiting abortions based solely on diagnosis or potential diagnosis of Down syndrome or

other enumerated disability, or sex, race, color, national origin, or ancestry of the embryo/fetus),

cert. denied in part and granted in part, judgment rev’d in part on other grounds sub nom. Box v.

Planned Parenthood of Ind. & Ky., Inc., 139 S. Ct. 1780 (2019).

       Both the Cascading Bans and the Reason Bans unquestionably prohibit abortion prior to

viability. Given the State’s preexisting and unchallenged post-viability ban and the fact that there

is no abortion care in Tennessee after viability, that is the Bans’ only function. The Cascading

Bans also impermissibly usurp physician discretion and attempt to move the viability line earlier

by limiting access to abortion based on specific gestational ages while the Reason Bans attempt

to dispense with the viability framework altogether—both ignoring the Supreme Court’s clear

edict that no state interest is “strong enough to support a prohibition of abortion” prior to

viability. Casey, 505 U.S. at 846. Based on this extensive and binding precedent, Plaintiffs have

an extremely strong likelihood of success on the merits of their claims that the Bans

unconstitutionally prohibit abortion prior to viability.

   B. The Reason Bans Are Unconstitutionally Vague.

       While the Reason Bans are unconstitutional because they prohibit abortion before

viability, they are also unconstitutional for the independent reason that they fail to provide



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Plaintiffs adequate notice of what conduct is prohibited and are therefore vague. It is well-settled

that “the void-for-vagueness doctrine requires that a penal statute define the criminal offense

with sufficient definiteness that ordinary people can understand what conduct is prohibited and

in a manner that does not encourage arbitrary and discriminatory enforcement.” Kolender v.

Lawson, 461 U.S. 352, 357 (1983). The Supreme Court has long cautioned that “laws must

provide explicit standards for those who apply them,” because “[a] vague law impermissibly

delegates basic policy matters to policemen, judges, and juries for resolution on an ad hoc and

subjective basis.” Grayned v. City of Rockford, 408 U.S. 104, 108-09 (1972). “Vague laws are

subject to particular scrutiny when criminal sanctions are threatened or constitutional rights are

at risk.” United States v. Caseer, 399 F.3d 828, 835 (6th Cir. 2005); accord Voinovich, 130 F.3d

at 205 (applying this principle in the context of abortion and explaining that “perhaps the most

important factor affecting the clarity that the Constitution demands of a law is whether it

threatens to inhibit the exercise of constitutionally protected rights”) (internal quotation marks

omitted).

       The Reason Bans clearly fail this test. They prohibit abortions where a provider “knows”

that the abortion is sought “because of” a prohibited reason. The Reason Bans do not make clear

whether the law targets abortions where the prohibited reason is the patient’s sole reason, a

primary reason, or one motivating factor among many. Individuals seek abortion for a multitude

of deeply personal and often complex reasons, making it impossible for Plaintiffs to “know”

exactly why (or why not) any given patient is seeking care.

       Compounding the vagueness problem further, it is unclear which circumstances could

support a determination that a Plaintiff “knew” her patient sought an abortion “because of” one

of the prohibited reasons, particularly since Tennessee law allows for findings of knowledge to



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be supported by circumstantial evidence, see Wofford v. State, 358 S.W. 2d 302, 304 (Tenn.

1962). Given this uncertainty, Plaintiffs reasonably fear prosecution based on any potential that a

prohibited reason plays any part in a patient’s decision-making—which may be as little as a

patient’s oblique reference to the sex of her fetus, the race of her partner, or her own age. See

Grant Decl. ¶¶ 20-22; Looney Decl. ¶¶ 45-49; Rovetti Decl. ¶¶ 23-24; Terrell Decl. ¶¶ 20-23.

        As a consequence, the Reason Bans create two dangers that are the hallmarks of

unconstitutionally vague statutes. First, the absence of explicit standards “in practice leaves the

definition of its terms to law enforcement, and thereby invites arbitrary, discriminatory and

overzealous enforcement.” Leonardson v. City of E. Lansing, 896 F.2d 190, 198 (6th Cir. 1990)

(internal quotation marks omitted). Given the prevalence of hostility toward abortion and

abortion providers in Tennessee, see Looney Decl. ¶ 37; Zite Decl. ¶ 21, the risk facing Plaintiffs

here is especially great. See Kolender, 461 U.S. at 358 (a law is vague where it “allows

policemen, prosecutors, and juries to pursue their personal predilections”) (internal quotation

marks omitted); Papachristou v. City of Jacksonville, 405 U.S. 156, 170 (1972) (vague laws risk

discriminatory enforcement “against particular groups deemed to merit [prosecuting officials’]

displeasure”). Second, as a result of their ambiguous standards and heavy criminal penalties, the

Reason Bans will require Plaintiffs to deny care to any patient who references any of the

prohibited reasons or whose condition is impacted in any way by any one of them, thereby

inhibiting Plaintiffs’ patients’ exercise of their constitutional right to pre-viability abortion. See

Casey, 505 U.S. at 871; Caseer, 399 F.3d at 835.

        The Reason Bans are therefore constitutionally invalid for the additional reason that their

absence of explicit standards renders them impermissibly vague.




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   C. The Bans Are Unconstitutional Because They Do Not Have Valid Medical
      Emergency Exceptions.

       While the Bans are unconstitutional under a long line of Supreme Court precedent

because they prohibit abortion before viability—and no exceptions could render them valide—

that Bans are also unconstitutional for the independent reason that they lack valid medical

emergency exceptions. And, without valid exceptions, the Bans violate “the essential holding of

Roe,” which “forbids a State to interfere with a woman’s choice to undergo an abortion

procedure if continuing her pregnancy would constitute a threat to her health.” Casey, 505 U.S.

at 880. In Women’s Med. Prof’l Corp. v. Voinovich, the Sixth Circuit held that a medical

emergency exception is unconstitutionally vague, warranting the invalidation of the underlying

statute, where it contains an unclear standard such that “physicians cannot know the standard

under which their conduct will ultimately be judged.” 130 F.3d 187, 205 (6th Cir. 1997).

Specifically, the Sixth Circuit held that where a statute “impos[es] criminal liability without a

mental culpability requirement,” and contains both “subjective and objective elements in that a

physician must believe that the abortion is necessary and his belief must be objectively

reasonable to other physicians,” it fails to put physicians on notice about what conduct will meet

the exception and is unconstitutionally vague. Id. at 203-04. The Sixth Circuit further explained

that the “uncertainty induced” by “[t]he objective standard combined with strict liability for even

good faith determinations, ‘could have a profound chilling effect on the willingness to perform

abortions.’” Id. at 205 (quoting Colautti, 439 U.S. at 396).

       The Bans reflect these same deficiencies. Just as in Voinovich, the Bans’ medical

emergency affirmative defenses lack any scienter element for medical emergency




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determinations, holding physicians strictly liable for “unreasonable” determinations. 16 See p. 12

supra; see also Voinovich, 130 F.3d at 205 (“[I]n this area of the law, scienter requirements are

particularly important.”). Further, like the statute in Voinovich, the medical emergency

provisions contain both subjective and objective elements. “Medical emergency” is defined in

terms of the “physician’s good faith medical judgment,” Act §§ 39-15-216(a)(4), 217(a)(3)

(incorporating definition in Tenn. Code Ann. § 39-15-211(a)(3)), but a physician may assert this

affirmative defense only if “in the physician’s reasonable medical judgment, a medical

emergency prevented compliance with the provision,” id. §§ 39-15-216(e)(1), 217(e)(1).

        And, as a result of this infirm combination and the extreme criminal penalties, physicians

will be chilled from providing abortion care despite their good faith beliefs that such care is

warranted by a “medical emergency.” Zite Decl. ¶¶ 18-22; cf. W. Ala. Women’s Ctr. v.

Williamson, 900 F.3d 1310, 1329 (11th Cir. 2018); Hope Clinic v. Ryan, 195 F.3d 857, 889 (7th

Cir. 1999) (Posner, J., dissenting) (“What physician would be fool enough, or hero enough, to

risk a criminal prosecution in order to explore the precise meaning and outer bounds of [the law],

even if the risk is small?”), cert. granted, judgment vacated, remanded, 530 U.S. 1271 (2000).

The chilling is particularly severe here because a “determination of whether a medical

emergency . . . exists . . . is fraught with uncertainty and susceptible to being subsequently

disputed by others.” Voinovich, 130 F.3d at 205; see also Zite Decl. ¶¶ 21-22. Indeed, it is



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   Reasonableness does not equate to scienter. Under Tennessee law, outside of strict liability,
the lowest level of scienter allowed is criminal negligence, Tenn. Code Ann. § 39-11-301.
Criminal negligence is “[s]omething more than a failure to exercise due or reasonable care” that
“elevate[s] tortious carelessness to the level of criminal conduct.” State v. Briggs, 343 S.W.3d
106, 110-11 (Tenn. Crim. App. 2010); see also Tenn. Code Ann. § 39-11-106(a)(5) (defining
criminal negligence as a “gross deviation from the standard of care”). Reasonableness, therefore,
is insufficient to add a scienter requirement to a strict liability statute.


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“especially troublesome in the abortion context” “where there is such disagreement” because “it

is unlikely that the prosecution could not find a physician willing to testify that the physician did

not act reasonably.” Voinovich, 130 F. 3d at 205; see also Zite Decl. ¶¶ 21-22.

       As a result, the Bans’ medical emergency affirmative defense is unconstitutionally vague

under a direct application of Voinovich, 130 F.3d at 205, and the Bans are thus unconstitutional

for this additional reason. Casey, 505 U.S. at 880.

III.   ABSENT AN INJUNCTION, PLAINTIFFS AND THEIR PATIENTS WILL
       SUFFER IRREPARABLE HARM.

       The Bans will take effect immediately upon Governor Lee’s signature, and the vast

majority of patients seeking abortion in Tennessee will be instantly unable to receive this

constitutionally protected care. Because it is clear that the Bans impair both Plaintiffs’ and

Plaintiffs’ patients’ rights guaranteed by the Fourteenth Amendment to the United States

Constitution, it per se effects irreparable injury and should be enjoined.

       As the Sixth Circuit has long made clear, “if it is found that a constitutional right is being

threatened or impaired, a finding of irreparable injury is mandated.” Am. Civil Liberties Union of

Ky. v. McCreary Cty., 354 F.3d 438, 445 (6th Cir. 2003); accord Mich. State A. Philip Randolph

Inst. v. Johnson, 833 F.3d 656, 669 (6th Cir. 2016) (“[W]hen constitutional rights are threatened

or impaired, irreparable injury is presumed.”) (internal quotation marks omitted); Taubman Co.

v. Webfeats, 319 F.3d 770, 778 (6th Cir. 2003) (“[T]he loss of constitutional rights for even a

minimal amount of time constitutes irreparable harm.”).

       Furthermore, because the choice to have an abortion “simply cannot be postponed, or it

will be made by default with far-reaching consequences,” Bellotti v. Baird, 443 U.S. 622, 643

(1979), the presumption of irreparable harm applies with particular force where the threatened or

impaired right is the fundamental right to abortion, see, e.g., Planned Parenthood Ariz., Inc. v.

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Humble, 753 F.3d 905, 911 (9th Cir. 2014); Planned Parenthood of Wis., Inc. v. Van Hollen, 738

F.3d 786, 795-96 (7th Cir. 2013). This is because, as Roe recognized, forcing women to carry

unwanted pregnancies to term immensely harms them, including by undermining their ability to

control their own futures and often by harming their existing families. 410 U.S. at 153.

       The Bans will eliminate the choice to have an abortion for most pregnant people in

Tennessee. Further, the Bans will enact unconstitutionally vague provisions that fail to alert

Plaintiffs as to what conduct is proscribed, further constricting the provision of care, especially in

emergencies. For these reasons, the Bans impose irreparable harm and must be enjoined.

IV.    THE BALANCE OF HARMS FAVORS INJUNCTIVE RELIEF.

       Plaintiffs and their patients unquestionably face far greater irreparable harm while the

Bans are in effect than Defendants would face if their enforcement were enjoined and the status

quo—the legality of abortion—maintained. As discussed above, the Bans will cause pregnant

people in Tennessee profound and irreparable harm.

       By contrast, Tennessee will suffer no harm if it is ordered not to enforce laws that are

plainly unconstitutional under decades of Supreme Court precedent. See Planned Parenthood

Ass’n of Cincinnati, Inc. v. City of Cincinnati, 822 F.2d 1390, 1400 (6th Cir. 1987) (concluding

no substantial harm to city would result from enjoining enforcement of ordinance, finding it

“questionable” whether the government “has any ‘valid’ interest in enforcing” an

unconstitutional law); see also Chamber of Commerce of U.S. v. Edmondson, 594 F.3d 742, 771

(10th Cir. 2010) (defendant “does not have an interest in enforcing a law that is likely

constitutionally infirm”). The balance of harm thus weighs decisively in Plaintiffs’ favor, further

demonstrating that preliminary injunctive relief is necessary and appropriate.




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 V.     THE PUBLIC INTEREST WEIGHS HEAVILY IN FAVOR OF INJUNCTIVE
        RELIEF.

        Finally, enjoining the Bans serves the public interest. As the Sixth Circuit has made clear,

“[w]hen a constitutional violation is likely . . . the public interest militates in favor of injunctive

relief because it is always in the public interest to prevent violation of a party’s constitutional

rights.” Am. Civil Liberties Union Fund of Mich., 796 F.3d at 649 (alteration in original) (internal

quotation marks omitted); accord Mich. State, 833 F.3d at 669 (same); Am. Freedom Def.

Initiative v. Suburban Mobility Auth. for Reg’l Transp., 698 F.3d 885, 896 (6th Cir. 2012) (“the

public interest is promoted by the robust enforcement of constitutional rights.”). The only way to

prevent the public harm resulting from this far-reaching, ongoing constitutional violation is to

enjoin enforcement of the Bans.

VI.     A BOND IS NOT NECESSARY IN THIS CASE.

        Finally, this Court should waive the Federal Rule of Civil Procedure 65(c) bond

requirement. See Appalachian Reg’l Healthcare, Inc. v. Coventry Health and Life Ins. Co., 714

F.3d 424, 431 (6th Cir. 2013); see also Moltan Co. v. Eagle-Picher Indus., Inc., 55 F.3d 1171,

1176 (6th Cir. 1995) (affirming district court decision to require no bond “because of the strength

of [the plaintiff’s] case and the strong public interest involved”); Preterm-Cleveland v. Yost, 394

F. Supp. 3d 796, 804 (S.D. Ohio 2019) (waiving bond). This Court should use its discretion to

waive the bond requirement here, where the relief sought will result in no monetary loss to

Defendants.

                                           CONCLUSION

        For the foregoing reasons, this Court should grant Plaintiffs’ Motion for Temporary

Restraining Order and/or Preliminary Injunction.



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Dated: June 22, 2020

                                    Respectfully submitted,


                                    /s/ Thomas Castelli
                                    Thomas H. Castelli (No. 24849)
                                    American Civil Liberties Union
                                    Foundation of Tennessee
                                    P.O. Box 12160
                                    Nashville, TN 37212
                                    Tel: (615) 320-7142
                                    tcastelli@aclu-tn.org
                                    Attorney for Plaintiffs

                                    Jessica Sklarsky*
                                    Rabia Muqqadam*
                                    Francesca Cocuzza*
                                    Center for Reproductive Rights
                                    199 Water Street, 22nd Floor
                                    New York, NY 10038
                                    Tel: (917) 637-3600
                                    Fax: (917) 637-3666
                                    jsklarsky@reprorights.org
                                    rmuqqadam@reprorights.org
                                    fcocuzza@reprorights.org

                                    Attorneys for Memphis Center for Reproductive
                                    Health and Dr. Nikki Zite, M.D., M.P.H.

                                    Susan Lambiase*
                                    Planned Parenthood Federation of America
                                    123 William St., 9th Floor
                                    New York, NY 10038
                                    Tel: (212) 261-4405
                                    Fax: (212) 247-6811
                                    susan.lambiase@ppfa.org

                                    Attorney for Planned Parenthood of Tennessee and
                                    North Mississippi and Kimberly Looney, M.D.

                                    Anjali Dalal*
                                    Andrew Beck*
                                    American Civil Liberties Union Foundation

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                                 125 Broad Street, 18th Floor
                                 New York, NY 10004
                                 Tel: (212) 549-2633
                                 adalal@aclu.org
                                 abeck@aclu.org

                                 Attorneys for Knoxville Center for Reproductive
                                 Health and Femhealth USA, Inc.

                                 * Application for admission pro hac vice
                                 forthcoming




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                                     CERTIFICATE OF SERVICE
       I, the undersigned, do hereby certify that a true and correct copy of the foregoing has been

served by e-mail according to instructions from the Attorney General’s Office                    to

tnattygen@ag.tn.gov and by U.S. Mail on the following on the 22nd day of June 2020:

Herbert H. Slatery III
Attorney General for the State of Tennessee
Office of the Attorney General and Reporter
P.O. Box 20207
Nashville, TN 37202-0207

Lisa Piercey, M.D.
Commissioner of the Tennessee Department of Health
710 James Robertson Parkway
Nashville, TN 37243

Rene Saunders, M.D.
Chair of the Board for Licensing Health Care Facilities
665 Mainstream Drive, 2nd floor
Nashville, TN 37243

W. Reeves Johnson, Jr., M.D.
President of the Tennessee Board of Medical Examiners
665 Mainstream Drive, 2nd Floor
Nashville, TN 37243

Amy P Weirich
District Attorney General of Shelby County, Tennessee
201 Poplar Ave., Suite 301
Memphis, TN 38103

Glenn Funk
District Attorney General of Davidson County, Tennessee
222 2nd Ave N #500
Nashville, TN 37201

Charme P. Allen
District Attorney General of Knox County, Tennessee
City County Building 400 Main Street
Suite 168
Knoxville, TN 37902

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Tom P Thompson, Jr.
District Attorney General for Wilson County, Tennessee
119 South College St.
Lebanon, TN 37087

                                                  /s/Thomas H. Castelli
                                                  Thomas H. Castelli




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